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                  EXHIBIT 5
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                  IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                           ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al.,

               Plaintiffs,
                                                            Case No. 18SL-CC00617-02
        v.                                                        Division No. 17

COTTER CORPORATION (N.S.L.), et al.,

               Defendants.


COTTER CORPORATION (N.S.L.),

               Third-Party Plaintiff,

        v.

MALLINCKRODT LLC, EVERZINC USA
INC., BRIDGETON LANDFILL, LLC,
REPUBLIC SERVICES, INC., ALLIED
SERVICES, LLC, WESTLAKE LANDFILL,
INC., and ROCK ROAD INDUSTRIES, INC.,

               Third-Party Defendants.


                DEFENDANT COMMONWEALTH EDISON COMPANY’S
             RESPONSES PURSUANT TO THE ORDER OF OCTOBER 12, 2021

       Defendant Commonwealth Edison Company (“ComEd”) provides the following

responses pursuant to the Order of October 12, 2021, without waiver of jurisdictional or other

defenses. ComEd incorporates its previously served objections to preserve the record and avoid

arguments of waiver in ComEd’s Objection to Court Order of October 12, 2021; Combined

Opposition to Plaintiffs’ Motion to Compel Discovery, Motion for Protective Order, and

Suggestions in Support; Responses to Plaintiffs’ Second Set of Interrogatories; Responses to

Plaintiffs’ Second Set of Requests for Production; Responses to Plaintiffs’ First Set of


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Interrogatories; and Responses to Plaintiffs’ First Set of Requests for Production. ComEd

reserves the right to supplement or amend these responses as may be appropriate in the future

under Rule 56.01(e).

                         SPECIFIC REQUESTS AND RESPONSES

       1.     Commonwealth Edison to produce the names of its board of directors from the

period 1973 through 1977.

       RESPONSE:

       Without waiving its objections, ComEd responds as follows:

       1973: Norris Aldeen, Thomas G. Ayers, John A. Barr, Gordon R. Corey, Albert B. Dick

III, George E. Johnson, Brooks McCormick, Morgan Murphy, William Wood Prince, Edward

Byron Smith, J. Harris Ward, and Joseph S. Wright.

       1974: Norris Aldeen, Thomas G. Ayers, John A. Barr, Gordon R. Corey, Albert B. Dick

III, George E. Johnson, Brooks McCormick, Morgan Murphy, William Wood Prince, Edward

Byron Smith, A. Dean Swift, J. Harris Ward, and Joseph S. Wright.

       1975: Norris Aldeen, Jean Allard, Thomas G. Ayers, John A. Barr, Gordon R. Corey,

Albert B. Dick III, George E. Johnson, Brooks McCormick, Morgan Murphy, William Wood

Prince, Edward Byron Smith, A. Dean Swift, and Joseph S. Wright.

       1976: Norris Aldeen, Jean Allard, Thomas G. Ayers, John A. Barr, Gordon R. Corey,

Albert B. Dick III, George E. Johnson, Brooks McCormick, William Wood Prince, Edward

Byron Smith, A. Dean Swift, and Joseph S. Wright.

       1977: Norris Aldeen, Jean Allard, Thomas G. Ayers, John A. Barr, Gordon R. Corey,

Albert B. Dick III, George E. Johnson, Brooks McCormick, William Wood Prince, Edward

Byron Smith, A. Dean Swift, and Joseph S. Wright.




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        2.      Commonwealth Edison is further ordered to produce the Board of Directors

meeting minutes during the period of 1974-1977 that only and specifically address or refer to

activities of Cotter Corporation’s operation of Latty Avenue, Coldwater Creek or other

remediation sites referred to in Plaintiff’s’ [sic] Petition.

        RESPONSE:

        Without waiving its objections, ComEd responds that no meeting minutes of the Board of

Directors during the period of 1974-1977 address or refer to such activities or sites.



        3.      Commonwealth Edison is ordered to produce all internal documents and or [sic]

communications relating to George P. Rifakes” [sic] participation in activities regarding Latty

Avenue, Coldwater Creek and or clean up [sic] operations involving Mallinckrodt ,LLC [sic]

and/or the other named Defendants.

        RESPONSE:

        Without waiving its objections, ComEd produces with this response documents and/or

communications that are responsive to this order (Bates Nos. COMED00000014–

COMED00000062).




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     Dated: December 9, 2021        Respectfully submitted,


                                    /s/ Brian O. Watson
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                                    ATTORNEYS FOR DEFENDANT
                                    COMMONWEALTH EDISON
                                    COMPANY




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                               CERTIFICATE OF SERVICE

       I certify that on December 9, 2021, these papers were served upon all counsel via

electronic means.

                                            Respectfully submitted,

                                            /s/ Brian O. Watson
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                                            ATTORNEYS FOR DEFENDANT
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                                            COMPANY



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